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                                                                     FILED: February 3, 2016


                               UNITED STATES COURT OF APPEALS
                                   FOR THE FOURTH CIRCUIT


                                         ___________________

                                              No. 15-7232
                                        (1:97-cr-00355-WMN-3)
                                         (1:13-cv-01815-WMN)
                                         ___________________



        UNITED STATES OF AMERICA

                        Plaintiff - Appellee

        v.

        HILTON THOMAS, a/k/a Dinkles

                        Defendant - Appellant

                                         ___________________

                                              ORDER
                                         ___________________



                  Upon consideration of the joint motion for remand, the court reverses the

        district court's order denying relief under 28 USC section 2255, vacates the

        defendant's sentence, and remands this case to the district court for resentencing.
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        The clerk shall forward a copy of this order, accompanied by the motion for

        remand, to the district court.

                  Entered at the direction of Judge Diaz, with the concurrence of Judge Motz

        and Judge Duncan.

                                                 For the Court

                                                 /s/ Patricia S. Connor, Clerk
